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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                    LUBBOCK DIVISION

IN RE:                                                      §
                                                            §
TEXAS CORE ENERGY, LLC                                      §    Case No. 23-50021-RLJ-11
                                                            §
                  Debtor.                                   §

          DEBTOR’S EMERGENCY MOTION FOR AUTHORITY TO USE CASH
         COLLATERAL ON AN INTERIM BASIS AND TO SET FINAL HEARING

TO THE HONORABLE ROBERT L. JONES, U.S. Bankruptcy Judge:

         NOW COMES, TEXAS CORE ENERGY, LLC (the “Debtor”), the Debtor in the above-

referenced bankruptcy proceeding, and pursuant to Bankruptcy Rule 4001(b) file this Debtor’s

Emergency Motion for Authority to Use Cash Collateral on an Interim Basis and to Set Final

Hearing (“Motion”). In support, the Debtor would show:

                                              Summary of Relief Requested

         This Motion seeks interim use of cash collateral for a period of thirty (30) days to avoid

immediate and irreparable harm to the bankruptcy estate of the Debtor, and also requests the

Court to set a final hearing on the use of cash collateral.

         Pioneer Bank, FSB (“Pioneer”) asserts a security interest in the accounts receivable,

inventory, real estate, and other personal property of the Debtor to secure the repayment of five

loans having an aggregate outstanding balance of an estimated $3,581,642.49.




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          The cash collateral sought to be used in accordance with the requests set out in this

Motion will be used to pay the normal day-to-day expenses of the Debtor’s operations such as

payroll, rent, utilities, purchase inventory, office expenditures, insurance, and sales taxes.

          The Motion proposes to grant the Pioneer replacement liens in the accounts receivable of

the Debtor of equal validity, nature, and priority as its pre-petition liens.

                                                      Texas Core Energy, LLC

          1.        The Debtor, Texas Core Energy, LLC, is a Texas limited liability company which

owns and operates a manufacturing and sales business in Kilgore and Odessa, Texas. The

Debtor’s corporate offices are located at 13033 Quaker Avenue, Lubbock, Texas. The

company’s members are Taha Habib and Abraham Carranza.

          2.        The Debtor has two lines of business that it is involved in. The Debtor operates a

fabrication division known as TOCE International or TOCE Tank & Vessel in which the Debtor

fabricates tanks and vessels for customers in multiple industries, including but not limited to the

oil & gas industry.

          3.        The Debtor likewise operates a supply business for parts and supplies used in the

oil & gas industry. This division of the Debtor is known as TOCE Manufacturing.

          4.        The Debtor was organized as a series LLC under Texas law, and two series LLCs

were formed under the names of West Texas Select Tire Services, LLC and GM Core Group,

LLC.

          5.        The Debtor filed for relief under Chapter 11 of the United States Bankruptcy

Code on February 14, 2023. The Debtor elected to proceed under Subchapter V of Chapter 11.

The Debtor, therefore, has the rights, powers and duties of a Debtor in Possession and continues

to hold possession of and desires to maintain and operate its business pursuant to the authority of



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the Bankruptcy Code set out in § 1184.

          6.        At the time of the filing of this Motion, a Subchapter V trustee (“Trustee”) had

not yet been appointed by the Office of the United States Trustee for Region 6. Once a Trustee is

appointed, Debtor will provide the Trustee notice of the emergency setting on this Motion.

                                         Indebtedness Owing to Pioneer Bank, FSB

          7.        The Debtor has five loans with Pioneer. On April 20, 2021, the Debtor executed a

promissory note in favor of Pioneer in the original principal amount of $1,225,420.00 (the “Real

Estate Note”) to acquire real property in Kilgore, Texas to operate its fabrication business for

TOCE Tank & Vessel. The Real Estate Note was original set up as an advancing loan to allow

the Debtor to make improvements to the real property to operate its fabrication business.

However, as described more fully herein, the Debtor instead determined to lease other real

property in Kilgore, Texas which was available to operate its fabrication business. Therefore, the

Real Estate Note was modified to be a term loan without the ability to take any advances. The

outstanding balance of the Real Estate Note as of February 6, 2023 is $593,582.83.

          8.        The Real Estate Note is secured by a Deed of Trust covering the real property

commonly known as 2103 Highway 31 E, Kilgore, Texas 75662 (the “Fabrication Facility”).

The majority of the Debtor’s inventory, equipment, and work in progress has been relocated to

the Fabrication Facility after the Debtor paused operations in the tank and vessel division.

          9.        On January 10, 2020, the Debtor executed a promissory note in favor of Pioneer

in the original principal amount of $1,000,000.00 (the “CapEx LOC”). The CapEx LOC is a

line of credit to provide the Debtor with working capital for its fabrication business. The Debtor

would take orders from customers, receive certain prepayments for the orders, and draw on the

CapEx LOC to fund the remainder of the Debtor’s capital needs to process the customers’ orders.



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The Debtor increased the available credit under the CapEx LOC to $2,250,000 in November of

2021. The outstanding balance of the CapEx LOC as of February 6, 2023 is $787,387.90.

          10.       The CapEx LOC is secured by the Debtor’s accounts receivable, inventory, and

equipment pursuant to multiple security agreements and loan agreements between the Debtor and

Pioneer. Pioneer has filed UCC-1s with the Texas Secretary of State’s Office relating to the

CapEx LOC.

          11.       On January 10, 2020, the Debtor executed a promissory note in favor of Pioneer

in the original principal amount of $1,000,000.00 (the “Inventory RLOC”). The Inventory

RLOC is a revolving line of credit to provide the Debtor with capital to acquire inventory on

hand for use in its fabrication business. The Debtor increased the available credit under the

Inventory RLOC to $1,500,000 in November of 2021. The outstanding balance of the Inventory

RLOC as of February 6, 2023 is $1,489,014.25.

          12.       The Inventory RLOC is secured by the Debtor’s accounts receivable, inventory,

and equipment pursuant to multiple security agreements and loan agreements between the Debtor

and Pioneer. Pioneer has filed UCC-1s with the Texas Secretary of State’s Office relating to the

Inventory RLOC.

          13.       On January 21, 2021, the Debtor executed a promissory note in favor of Pioneer

in the original principal amount of $234,750.00 (the “Machine Loan”) to acquire a tank

fabrication process machine to be used in the Debtor’s fabrication division of TOCE Tank &

Vessel. The outstanding balance of the Machine Loan as of February 6, 2023 is $89,264.47.

          14.       The Machine Loan is secured with a purchase money security interest in the tank

fabrication process machine and a lien against the Debtor’s equipment, accounts receivable, and

inventory pursuant to multiple security agreements and loan agreements between the Debtor and



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Pioneer. Pioneer has filed UCC-1s with the Texas Secretary of State’s Office relating to the

Machine Loan.

          15.       On November 16, 2020, the Debtor executed a promissory note in favor of

Pioneer in the original principal amount of $800,000.00 (the “Equipment Loan”). The proceeds

from the Equipment Loan were used in the operation of the Debtor’s fabrication business. The

outstanding balance of the Equipment Loan as of February 6, 2023 is $622,393.04.

          16.       The Equipment Loan is secured with a lien against the Debtor’s equipment,

accounts receivable, and inventory pursuant to multiple security agreements and loan agreements

between the Debtor and Pioneer. Pioneer has filed UCC-1s with the Texas Secretary of State’s

Office relating to the Equipment Loan.

          17.       The Debtor’s assets securing the indebtedness described herein are as follows:

                Asset Category                                                        Value
Real Estate – Fabrication Facility                                                   $1,100,000.00
Accounts Receivable – Tank & Vessel                                                    $330,410.00
Accounts Receivable – Manufacturing                                                    $166,980.10
Inventory – Tank & Vessel                                                              $464,324.83
Work in Progress – Tank & Vessel                                                     $1,210,551.67
Inventory – Manufacturing                                                              $849,205.96
Equipment – Tank & Vessel                                                              $689,018.77
                                                          Total                      $4,810,491.33 1

          18.       Based on the foregoing, Pioneer appears to be secured on the indebtedness owed

on the Real Estate Note, the CapEx LOC, the RLOC, the Machine Loan, and the Equipment

Loan. The Debtor believes Pioneer will be adequately protected by its current collateral and

replacement liens on the Debtor’s accounts receivable generated post-petition.

          19.       As the Debtor finishes its customers’ orders on the tank and vessel division or

sells inventory on the sales and supply division, the Debtor receives its payment for these goods,
1
 This valuation is based on the book valuation other than the building. Debtor does not warrant or represent that the
actual value of the assets securing the indebtedness to Pioneer are as set forth above. A liquidation of this collateral
could in fact result in less value than set forth herein.

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services, or both. These funds make up what the Debtor shows as its accounts receivable. The

Debtor projects that its collectible accounts receivable as of the filing of the petition was

$497,390.10.

                              Background Facts Leading to Filing for Chapter 11 Relief

          20.       The Debtor commenced operations under its tank and vessel division in 2020. The

Debtor saw an increase in business during the beginning of its operations. As stated above, the

Debtor purchased the Fabrication Facility to house its operations. The Fabrication Facility

needed improvements in order for the Debtor’s tank and vessel division to grow. Because growth

seemed imminent, the Debtor determined it would relocate and lease a facility which was already

in the necessary condition for the Debtor to continue to operate.

          21.       As the Debtor saw growth on the horizon, it increased its various lines of credit

with Pioneer and began to increase its purchasing. Unfortunately, the Debtor overextended itself

in purchasing inventory and equipment. Likewise, the Debtor started to experience growing

pains experienced by many companies and ran into difficulty in properly analyzing the costs and

time needed to complete customer jobs.

          22.       At the end of 2022, the Debtor realized its operations on the tank and vessel

division had become out of line with its books and records. The Debtor had miscalculated times

to complete jobs and was not maintaining sufficient operations to meet customer deadlines and

timely satisfying orders. These issues likewise contributed to the Debtor getting behind on

accounts payables to vendors.

          23.       With increasing demands from vendors and customers, the Debtor paused

operations of its tank and vessel division at the end of January 2023. The Debtor accomplished

the pause to allow for it to determine where it really sat financially and develop a strategy to



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move forward. When the Debtor paused its operations, however, employees of the tank and

vessel division left the job with no promise of return.

          24.       The sales and supply division, on the other hand, continues to sell its inventory to

customers and generate business for the Debtor.

          25.       With increasing demand from vendors and customers, the Debtor determined the

best step to take to resolve its financial issues was to seek protection under Chapter 11 of the

Bankruptcy Code.

                             Current Status of Operations and Budget for Cash Collateral

          26.       The Debtor currently has in its possession $61,007.29 of cash in the form of

deposits in its depository accounts from collections of outstanding accounts receivable owing

from its customers. Debtor has outstanding accounts receivable on the tank and vessel side in the

amount of $330,410.00 and accounts receivable on the sales and supply side in the amount of

$166,980.10. Debtor has an immediate need to use the cash to make payments necessary for

continued operations like payroll, rent, purchase of inventory, payment on utilities, supplies, and

other services.

          27.       If the Debtor does not have immediate use of cash, the Debtor will not be able to

continue operations and improve its ability to pay back its creditors as much as possible. If the

Debtor is not able to have use of its cash, the Debtor will not be able to operate, and the Debtor

will experience irreparable harm.

          28.       Debtor has prepared a budget relating to its proposed expenditures over the next

thirty (30) days which reflects the sources and uses of the funds. The budget is attached hereto

and incorporated herein as Exhibit “A.” Debtor believes these cash flow projections, as well as

the collection of outstanding accounts receivable, will provide the Debtor the ability to propose a



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confirmable plan to restructure the liabilities of the Debtor.

          29.       Based upon the budget, Debtor proposes to continue to operate its business on as

much of a cash basis as possible going forward. Debtor would request the current use of the cash

in its depository, along with proceeds from the collection of its accounts receivable, to purchase

inventory, to pay payroll, to pay rent, to pay utilities, and to generally cover normal operating

expenses over the next thirty (30) days until a final hearing on the use of cash collateral can be

heard by the Court.

                               Need for Consideration of Motion on an Emergency Basis

          30.       An immediate liquidation under any economic conditions would be a disaster for

the Debtor’s bankruptcy estate and its creditors, but this is even more true in our current

economic climate where the country as a whole is still recovering from the COVID-19

pandemic. The Debtor’s primary assets includes real estate, work-in-progress, inventory, and

accounts receivable. The value of these assets in a liquidation are unknown, but assuredly would

be much less than if the Debtor is able to operate. Debtor’s assets are pledged to Pioneer.

          31.       If the Debtor completely ceases operations and immediately liquidates, the Debtor

will not be able to recognize the value of its assets either through operations or a structured sales

process. Any value in the Debtor’s assets will be significantly diminished and will most likely

not pay in full Pioneer on its indebtedness.

          32.       The Debtor needs to be able to use its cash and collection of accounts receivable

to continue its operations. Without the use of the cash collateral the Debtor’s estate will suffer

immediate and irreparable harm, by forcing it to discontinue all operations, terminate its

contracts, and submit to an immediate liquidation of its assets.

          33.       There is presently an immediate need for the use of cash collateral in the



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operation of the Debtor’s business, and the Debtor requests interim use of cash collateral for a

period of thirty (30) days until a final hearing on the Debtor’s proposed use of cash collateral can

be scheduled, appropriately noticed to all creditors and parties in interest, and held. The Debtor

has cash needs for the purchase of inventory, payment of payroll, payment of rent, and payment

of necessary supplies for continued operations. The expenses that must be paid within the next

thirty (30) days are reflected on the attached Exhibit “A.” Furthermore, upon final hearing the

Debtor will request a carve out for the payment of professional fees and expenses in an amount

to be determined by the Debtor after its schedules and statement of financial affairs are filed.

          34.       The failure to have use of the cash collateral for the purposes set forth above will

cause immediate and irreparable harm to the assets of the Debtor and will result in severe

damage and diminution to the value of its assets and bankruptcy estate. For these reasons, the

Debtor requests an emergency hearing on shortened notice of two (2) days’ notice on their

motion for use of cash collateral on an interim basis.

          35.       The Debtor hereby requests an emergency hearing on this Motion to consider

interim use of cash collateral. By separate motion the Debtor will request shortened notice to

affected creditors and parties in interest so the Court may consider their request for interim use of

cash collateral. The Debtor requests authority to use cash collateral on an interim basis consistent

with the attached cash flow projections shown on Exhibit “A.” The Debtor suggests that to the

extent replacement liens are necessary and appropriate to provide adequate protection that they

be granted to Pioneer as the secured creditor in the same validity, nature, extent and priority post-

petition as they existed pre-petition and that the Court set a hearing to consider the Debtor’s

continued use of cash collateral and to grant adequate protection to Pioneer in a manner

consistent with the requirements of the Bankruptcy Code.



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          WHEREFORE, PREMISES CONSIDERED, the Debtor prays that the Court set an

emergency hearing on two (2) days’ notice and determine that such notice and opportunity for

hearing is reasonable under the circumstances, and upon hearing of the Motion grant Debtor use

of cash collateral on an interim basis as set forth in this Motion, and that the Court set a hearing

on the Debtor’s request for continued use of cash collateral beyond the initial 30-day period, and

the Court grant such other and further relief, at law or in equity, as the Court may deem

necessary and proper.

                                                                 Respectfully Submitted,

                                                                 By:    /s/ Brad W. Odell
                                                                        Brad W. Odell: SBN 24065839

                                                                 MULLIN HOARD & BROWN, LLP
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                                                                 Email: bodell@mhba.com
                                                                 Attorneys for Debtor, Texas Core Energy, LLC


                                         CERTIFICATE OF CONFERENCE

        I certify that on the 14th day of February, 2023, I communicated with Ryan Bigbee,
attorney for Pioneer Bank, FSB regarding the relief requested in this Motion. Mr. Bigbee stated
that Pioneer Bank, FSB does not object to the relief requested in this Motion.

                                                                        /s/ Brad W. Odell_________
                                                                        Brad W. Odell




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                                         CERTIFICATE OF SERVICE

        I certify that a true and correct copy of the foregoing Motion was served on the following
parties in interest via ECF and/or U.S. Mail postage prepaid or facsimile, on this 14th day of
February, 2023:

          1.        Texas Core Energy, LLC
                    Attn: Taha Habib
                    13033 Quaker Avenue
                    Lubbock, Texas 79424
                    Debtor

          2.        U.S. Trustee’s Office
                    1100 Commerce St., Room 9C60
                    Dallas, Texas 75242

          3.        Ryan Bigbee
                    Bigbee & Curtis, LLP
                    P.O. Box 53068
                    Lubbock, Texas 79453
                    Attorneys for Pioneer Bank, FSB

          4.        Debtor’s Twenty Largest Unsecured Creditors

          5.        All parties receiving ECF Notice in this case.



                                                                 /s/ Brad W. Odell_________
                                                                 Brad W. Odell




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                            A                               B                 C               D                E                F
1                                                        BUDGET 2023
 2                                                      2/17/2023          2/24/2023       3/3/2023        3/10/2023        3/17/2023
 3                                                        Week 1            Week 2          Week 3          Week 4           Week 5
 4   WEEKLY BUDGET
 5
 6   BEGINNING CASH BALANCE                                     61,007            50,203          26,783           17,429           28,811
 7   Collection Accounts Receivable                             13,231            13,231          13,231           13,231           13,231
 8   Cash Sales
 9
10
11
12
13   TOTAL CASH                                                 74,239            63,434          40,015           30,661           42,042
14
15
16
17   EXPENDITURES:
18
19
20
21   Inventory                                                     5,000                           5,000                             5,000
22   Payroll(Leased employees from TIC)                         15,635                            15,635                            15,635
23   Health Insurance
24   Rental & Lease Payments                                                      20,744
25   Utilities                                                      700              500                                              700
26   Insurance                                                                    13,507
27   Secured Debt Payments
28   Building Maintenance and Repairs                               700              200                                              700
29   Vehicle Repairs and Maintenance                                                                 250
30   Fuel                                                          1,183           1,183           1,183            1,183            1,183
31   Travel
32   Office Supplies                                                167              167             167             167              167
33   Advertising                                                    100              100             100             100              100
34   Professional Fees                                              150                                              150
35   Miscellaneous                                                  150                                                               150
36
37
38
39   Sales and Use Taxes                                                                                                                 -
40   Income Tax Accrual
41   Subchapter V Trustee Post‐Petition Retainer                    250              250             250             250              250
42   Property Tax Accrual
43
44   TOTAL OPERATING EXP.                                       24,035            36,651          22,585            1,850           23,885
45
46
   ENDING CASH BALANCE BEFORE PLAN
47 PAYMENTS                                                     50,203            26,783          17,429           28,811           18,156
48 Payment to Unsecured Creditors
   ENDING CASH BALANCE AFTER PLAN
49 PAYMENTS                                                     50,203            26,783          17,429           28,811           18,156




                                                                                                   EXHIBIT "A"
